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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )                   8:13CR220
                                                  )
       vs.                                        )                     ORDER
                                                  )
ELIODORO CABRERA, JR.,                            )
DONALD F. NORDEN,                                 )
SHAWN A. MALESKER, and                            )
LANCE M. WOLFE,                                   )
                                                  )
                      Defendants.                 )


       This matter is before the court on the motion of defendant Eliodoro Cabrera, Jr.,
(Cabrera) to compel discovery, preserve evidence, reweigh evidence, and for leave to file
further motions (Filing No. 60). The progression order (Filing No. 43) provides in part in
Paragraph 3:
               In the event that any motions are filed seeking bills of particulars or
               discovery of facts, documents, or evidence, as part of the motion the
               moving party shall recite that counsel for the movant has conferred
               with opposing counsel regarding the subject of the motion in an
               attempt to reach agreement on the contested matters without the
               involvement of the court and that such attempts have been
               unsuccessful. The motion shall further state the dates and times of
               such conferences.

       Cabrera’s counsel has failed to include in his “boiler plate” motion the required
consultation with government’s counsel as to what will or will not be disclosed. Accordingly, the
motion will be denied.


       IT IS SO ORDERED.


       DATED this 22nd day of October, 2013.


                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
